              Case 5:18-cr-00258-EJD Document 895 Filed 08/06/21 Page 1 of 5




 1 JOHN D. CLINE (CA State Bar No. 237759)
   50 California Street, Suite 1500
 2 San Francisco, CA 94111
   Telephone: (415) 662-2260 │Facsimile: (415) 662-2263
 3 Email: cline@johndclinelaw.com

 4 KEVIN M. DOWNEY (Admitted Pro Hac Vice)
   LANCE A. WADE (Admitted Pro Hac Vice)
 5 AMY MASON SAHARIA (Admitted Pro Hac Vice)
   KATHERINE TREFZ (CA State Bar No. 262770)
 6 WILLIAMS & CONNOLLY LLP
   725 Twelfth Street, NW
 7 Washington, DC 20005
   Telephone: (202) 434-5000 │Facsimile: (202) 434-5029
 8 Email: KDowney@wc.com; LWade@wc.com; ASaharia@wc.com; KTrefz@wc.com

 9 Attorneys for Defendant ELIZABETH A. HOLMES

10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   MS. HOLMES’ RENEWED MOTION TO
16                                             )   EXCLUDE CERTAIN NEWS ARTICLES
       v.                                      )
17                                             )
     ELIZABETH HOLMES and                      )   Date: August 20, 2021
18   RAMESH “SUNNY” BALWANI,                   )   Time: 10:00 AM
                                               )   CTRM: 4, 5th Floor
19          Defendants.                        )
                                               )   Hon. Edward J. Davila
20                                             )
                                               )
21                                             )
                                               )
22

23

24

25

26

27

28 MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN NEWS ARTICLES
   CR-18-00258 EJD
              Case 5:18-cr-00258-EJD Document 895 Filed 08/06/21 Page 2 of 5




 1         MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN NEWS ARTICLES

 2          PLEASE TAKE NOTICE that on August 20, 2021 at 10:00 a.m., or on such other date and time

 3 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 4 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Homes will and hereby does

 5 respectfully move the Court to exclude from evidence at trial the news articles attached as Exhibits 1-7.

 6 The Motion is based on the below Memorandum of Points and Authorities, the Declaration of Amy

 7 Saharia and accompanying exhibits, the record in this case, and any other matters that the Court deems

 8 appropriate.

 9
     DATED: August 6, 2021.
10

11                                                                      /s/ Amy Mason Saharia___
                                                                        KEVIN M. DOWNEY
12                                                                      LANCE A. WADE
                                                                        AMY MASON SAHARIA
13                                                                      KATHERINE TREFZ
                                                                        Attorneys for Elizabeth Holmes
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28 MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN NEWS ARTICLES
   CR-18-00258 EJD
                                      i
              Case 5:18-cr-00258-EJD Document 895 Filed 08/06/21 Page 3 of 5




 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2          In its May 22, 2021 Order on the parties’ motions in limine, the Court granted in part and denied

 3 in part Ms. Holmes’ Motion To Exclude Certain News Articles Under Rules 403 and 802 (the

 4 “Motion”). See Dkt. 798 at 39-44. The Court granted the Motion to exclude six articles published

 5 between 2015-2016 “that portray Theranos negatively” that the government sought to admit “for the

 6 non-hearsay purpose of providing context for subsequent events.” Id. at 43 (internal quotation marks

 7 omitted). The Court denied the Motion as to one article—“Blood, Simpler,” published in the New

 8 Yorker in 2014—and otherwise denied the Motion “without prejudice as to the articles not specifically

 9 identified and filed with the motion and its accompanying declarations and exhibits.” Id. at 44.1 Ms.

10 Holmes respectfully moves to renew that portion of her Motion that was denied without prejudice; in

11 particular, she moves now to exclude seven articles not previously submitted to the Court that are

12 inadmissible under the Court’s reasoning in its Order. See Exs. 1-7 (articles).

13          The Court’s reasoning as to the six excluded articles that portray Theranos negatively applies

14 with equal force to each of these seven additional articles. As relevant here, the Court rejected the

15 government’s argument that its purported non-hearsay use of the articles to “provid[e] ‘context’ for

16 subsequent events” solved the hearsay problems Ms. Holmes identified in her motion. See Order, Dkt.

17 798 at 43-44. As the Court held, “for the articles to provide [that] context, one would need to look past

18 the mere existence of the articles to the contents of the articles for their truth”—a forbidden hearsay link

19 “[i]f the authors of these articles do not testify as to the articles’ contents.” Order, Dkt. 789 at 43.

20          Each of the additional seven articles fits these criteria. First, none of the authors appears on the

21 government’s witness list. Second, each was published after the initial Wall Street Journal article in

22 October 2015. Third, each contains critical statements, sometimes sourced to the Journal reporting

23 itself, about Theranos that present as fact contested issues in the case. See, e.g., Ex. 1 (“The [Wall Street

24 Journal] also reported that former employees doubt the reliability of Edison, the company’s proprietary

25 lab tool.”); Ex. 2 (“But articles this month in The Wall Street Journal and other publications have

26
          1
            In an effort to limit the volume of supporting documents to her motions in limine, Ms. Holmes
27 attached only a compendium of exemplar articles to this motion.

28 MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN NEWS ARTICLES
   CR-18-00258 EJD
                                                        1
                Case 5:18-cr-00258-EJD Document 895 Filed 08/06/21 Page 4 of 5




 1 questioned how well the technology really works.”); Ex. 3 (“A deeply reported story by the Wall Street

 2 Journal has pulled the curtain back on Theranos, the hot and intensely secretive Palo Alto, Calif.,

 3 company that aims to revolutionize how we get our blood tested.”). Like the original Wall Street

 4 Journal reporting that they parrot, these articles feature multiple levels of hearsay through quotations or

 5 characterizations attributed to unnamed sources. See Ex. 4 (“Theranos was once a Silicon Valley

 6 darling with a $9 billion valuation. Now, experts are skeptical of the company and its ‘secretive’ nature,

 7 pushing the company to publish data on its technology.”); Ex. 5 (“One former employee said the

 8 company struggled to find a new laboratory director when Dr. Dhawan’s predecessor resigned in

 9 December 2014.”). If offering the Wall Street Journal article itself to provide “context” is

10 impermissible, as the Court held, then the government cannot admit these follow-on articles that suffer

11 from the same hearsay flaws.2

12                                                   *       *      *

13          For the foregoing reasons, Ms. Holmes respectfully moves to exclude the seven articles at

14 Exhibits 1-7.

15

16 DATED: August 6, 2021

17                                                       /s/ Amy Mason Saharia
                                                         KEVIN DOWNEY
18                                                       LANCE WADE
                                                         AMY MASON SAHARIA
19                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
20

21

22

23

24

25

26          2
             Ms. Holmes maintains that these articles also pose acute Rule 403 concerns and should be
   excluded on that basis. See Mot., Dkt. 578 at 4. The Court need not reach that issue, however, because
27 its prior hearsay ruling mandates the articles’ exclusion.

28 MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN NEWS ARTICLES
   CR-18-00258 EJD
                                                         2
             Case 5:18-cr-00258-EJD Document 895 Filed 08/06/21 Page 5 of 5




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on August 6, 2021, a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5

 6                                                                      /s/ Amy Mason Saharia___
                                                                        AMY MASON SAHARIA
 7                                                                      Attorney for Elizabeth Holmes

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN NEWS ARTICLES
     CR-18-00258 EJD
